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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION



 JAMES HAYDEN,                               )       CASE NO. 1:17CV2635
                                             )
                       Plaintiff,            )       SENIOR JUDGE
                                             )       CHRISTOPHER A. BOYKO
               vs.                           )
                                             )       ORDER
 2K GAMES, INC., et al.,                     )
                                             )
                       Defendants.           )


 CHRISTOPHER A. BOYKO, SR. J.:

        This matter comes before the Court upon the parties’ Joint Proposed Schedule. (ECF

 DKT #70). The Court adopts the schedule in part as follows:

 ___________________________________________________________________________

 October 22, 2021 - Summary Judgment Opening Briefs and Opening Daubert Briefs

 November 22, 2021 - Summary Judgment Opposition Briefs and Opposition Daubert Briefs

 December 17, 2021 - Summary Judgment Reply Briefs and Reply Daubert Briefs

 ___________________________________________________________________________

 A Settlement Conference is set for April 4, 2022 at 2:00 p.m. Lead counsel and parties

 with full settlement authority shall attend and comply with the Court’s Standing Settlement
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 Conference Order. (See, ECF DKT #28). If the matter does not resolve, the case will

 proceed with the remainder of the parties’ proposed dates.

 ___________________________________________________________________________

 April 26, 2022 - Motions in Limine, trial briefs and deposition designations

 May 19, 2022 - Oppositions to Motions in Limine and counter-designations

 May 26, 2022 at 2:00 p.m. - Final Pre-Trial Conference

 June 20, 2022 at 9:00 a.m. - Jury Trial

 ___________________________________________________________________________

        The Court further ORDERS the parties to file a joint statement by October 8, 2021,

 providing an estimated length for the trial of this matter.



        IT IS SO ORDERED.

        DATE: October 1, 2021


                                        s/Christopher A. Boyko
                                        CHRISTOPHER A. BOYKO
                                        Senior United States District Judge




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